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UNITED sTATEs DISTRICT COURT
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UNUM LIFE INSURANCE COMPANY )

QF AMERICA, lHOMAS it GOLlD
aEa<, us assn count
v CASE NO. 05-2120 MI V

TONYA W. KELLY,

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Defendant.
AGREED ORDER STA¥ING PROCEEDINGS

Upon joint motion and agreement of the parties and the parties having represented to the
court that:

1. Plaintif`f UNUM Life Insurance Company of America (“UNUM”) has agreed to
review Tonya Kelly’s claim f`or long-term disability benefits on appeal; and

2. UNUM’s review of defendant’s claim on appeal may result in her receiving
additional long-term disability insurance benefits which could affect the amount of` the
overpayment amount UNUM is seeking in this matter; and

3. The parties believe it would serve the interests of judicial economy to stay further
proceedings in this case while UNUM reviews defendant’s claim on appeal;

it is hereby OR_DERED that this action is STAYED. The parties shall report to the court

on or before January 13, 2006 regarding the status of UNUM’s review of defendant’s claim on

appeal, at which point the court will determine whether to extend, modify or lift the stay.

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Notice of Distribution

This notice confirms a copy of`the document docketed as number ll in
case 2:05-CV-02120 was distributed by f`aX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

Tony R. Dalton

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC

900 S. Gay St.
Ste. 900
Knoxville7 TN 37902--181

Eric L. Buchanan

LAW OFFICES OF ERIC L. BUCHANAN
Ste. 6300

5740 Uptain Rd.

Chattanooga, TN 3741 l--407

Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview Tower

900 South Gay St.

Knoxville7 TN 37902

Honorable J on McCalla
US DISTRICT COURT

